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March 9, 2020
BY EMAIL

The Honorable Patti B. Saris

United States District Court Judge

Untied States District Court for the District of Massachusetts
1 Courthouse Way

Boston, MA 02210

Re: SEC». Lemelson, et al.; No. 18-cv-11926-PBS
Your Honor:

This Firm represents Defendants in the above-referenced civil action. The undersigned is
lead counsel on this matter. We write to respond to the letter that Plaintiff Securities and
Exchange Commission (the “Commission”) sent to Your Honor at 5:15 p.m. on Friday, March 6,
2020, in which the Commission hurls patently false and scurrilous allegations against the
undersigned, while failing to disclose critical information to this Court.

First, the Commission’s claims that the undersigned sought to influence a “potential
witness” (Fr. Theodore Barbas) are directly contrary to the Commission’s prior representations
filed with this Court and provided to Defendants in discovery making clear that Fr. Barbas is not
a potential witness. Second, the undersigned relied in good faith on the Commission’s prior
representations in initiating a separate civil demand letter—sent to Fr. Barbas’s counsel outside
the context of this case and after it was clear that Fr. Barbas was not a potential witness here—in
a good-faith attempt to settle an independent dispute between Fr. Barbas and Defendant Fr.
Emmanuel Lemelson and complying with all applicable laws and Rules. Third, by knowingly
contradicting its prior representations filed with this Court, and failing to disclose same, the
Commission’s letter intentionally withheld critical information from this Court.! For these
reasons, as set forth in more detail below, the Court should reject the Commission’s attempt to
smear the reputation of the undersigned as both baseless and brought in bad faith.

1. The Commission’s Allegations Run Directly Contrary to Its Prior
Representations to this Court.

The Commission alleges that the undersigned engaged in criminal misconduct by seeking
to influence the testimony of a “potential witness” (Fr. Barbas) in this matter. This allegation is
groundless, and it runs directly contrary to the Commission’s prior representations to this
Court in its Opposition to Defendants’ Motion for Sanctions and to Compel Greek Orthodox

 

* See Massachusetts Rules of Professional Conduct 3.3 (Candor Toward the Tribunal).

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Metropolis of Boston to Produce Documents in Response to Subpoena (ECF No. 64), in which
the Commission made clear that any information Fr. Barbas has is irrelevant to this case, thus
disavowing any notion that Fr. Barbas was or could ever be a potential witness in this case.
The Commission’s failure to disclose this to the Court in its March 6 letter while simultaneously
impugning the integrity of a fellow member of the Bar, is grossly inappropriate.”

By way of relevant background, according to the Commission, Fr. Barbas told it three
things—all related to issues which the Commission has claimed are irrelevant to this case; i.e.,
issues that involve Defendant Fr. Emmanuel Lemelson’s religious affiliation, namely: (1) Fr.
Emmanuel was not a Greek Orthodox Priest; (2) Fr. Emmanuel applied to the Greek Orthodox
Metropolis of Boston to be ordained but was denied; and (3) Fr. Emmanuel was never officially
assigned to any Greek Orthodox parish and has never been affiliated with the Greek Orthodox
Metropolis of Boston. See ECF No. 64 at 3-4 & ECF No. 65-5 at 1.

After Fr. Barbas made the above (false) statements to the Commission, counsel for the
Commission told Defendants’ counsel that it intended to send a documents subpoena to the
Greek Orthodox Metropolis of Boston (not to Fr. Barbas, its Chancellor, individually). The
Commission represented that it was seeking documents to support these (false) statements about
Fr. Emmanuel to undermine his credibility. Therefore, purely as a result of the Commission’s
stated intention, Defendants’ counsel issued its own subpoena to the Greek Orthodox Metropolis
of Boston to ensure that it received the necessary documents to prove that the information
provided to the Commission about Fr. Emmanuel’s religious affiliation was false in the event the
Commission decided to try to call anyone affiliated with the Metropolis as a witness.

In response to Defendants’ subpoena, the Metropolis of Boston produced certain
documents but withheld others under a specious claim of privilege. After lengthy discussions
failed, Defendants filed a motion to compel the production of the wrongly withheld documents.
Although the Metropolis did not file an Opposition, the Commission did. Critically, in that
Opposition, the Commission made the following representations (for the first time) to this Court,
demonstrating that it did not consider Fr. Barbas to be a potential witness in this case:

e “The documents Lemelson seeks ... has (sic) no bearing on whether he committed
Sraud when he shorted the stock of Ligand Pharmaceuticals, Inc. (“Ligand”) 2014.”

e “Undersigned counsel did not—and does not—view Lemelson’s religious affiliation as
relevant to this case....”

 

* The undersigned notes that the Commission’s frivolous letter follows Magistrate Judge Cabell’s allowance of a
30(b)(6) deposition of the Commission concerning potential Commission wrongdoing.

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e “Perhaps there is a misunderstanding, mutual or otherwise, between Lemelson and the
Greek Orthodox Metropolis of Boston. Perhaps someone is dissembling. But in either
case, this is not the forum to sort it out.”

(Emphases added). In other words, the Commission represented that the information provided
by Fr. Barbas was both irrelevant to this case and, to the extent disputed by Fr. Emmanuel,
should be sorted out in a different forum than the present litigation.

Ultimately, with the motion to compel still pending, the Metropolis produced the wrongly
withheld documents voluntarily, and, after defense counsel immediately notified the Court about
the production, Magistrate Judge Cabell issued an order finding the motion moot. See ECF Nos.
78 & 79.

Based on the above representations of counsel for the Commission (as well as the
termination of the motion to compel and the review of the previously withheld documents), the
undersigned came to the only logical conclusion possible, that Fr. Barbas could no longer be
considered (if he ever was) a potential witness in this matter. Otherwise, the Commission’s
above statements to the Court would have been false, as there is no way to reconcile Fr. Barbas
remaining a “potential witness” in this matter with the Commission’s express representations that
his statements were irrelevant to this case and that any dispute concerning them should not be
sorted out in this forum.’

In addition, despite its current claim that Fr. Barbas is a “potential witness,” the
Commission has never listed Fr. Barbas as a person with even discoverable information—much
less a potential witness. The Commission has twice amended its Initial Disclosures—each time

 

* Moreover, in a classically-Commission-“reservation-of-rights” footnote in its Opposition to the motion to compel,
the Commission purported to reserve its right to challenge Fr. Emmanuel’s credibility “[i]f further facts establish
that Lemelson made misleading statements about his religious affiliation . .. .” ECF No. 64 at 1, n.1 (emphasis
added). Given that the Commission had already communicated on multiple occasions with Fr. Barbas—who at that
point had provided the Commission with inconsistent information—clearly the “additional evidence” the
Commission contemplated had nothing to do with Fr. Barbas. Accordingly, the Commission’s reservation of rights
provides further proof that it does not consider Fr. Barbas a potential witness in this case.

Indeed, it was largely as a result of the Commission’s gratuitous and internally inconsistent reservation of rights that
Defendants felt compelled to continue to press for the remaining documents from the Metropolis of Boston (not Fr.
Barbas individually) even after the Commission filed its Opposition. See generally ECF No. 75 (Defendants’ reply
memorandum in support of motion to compel). In other words, Defendants wanted to ensure they had all available
documents to demonstrate Fr. Emmanuel had never misrepresented his religious affiliation in the event the
Commission purported to later come up with “additional evidence” separate and apart from Fr. Barbas. Notably,
having now reviewed those documents (something the undersigned did before sending the civil demand letter at
issue), none of those documents support either the Commission’s credibility arguments about Fr. Emmanuel or the
notion that Fr. Barbas could be a potential witness in this case.

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to specifically add people with discoverable information as new potential witnesses. Tellingly,
it did not do so to list Fr. Barbas. To “pop out of the box” now and claim that Fr. Barbas is a
witness—and therefore the undersigned’s civil demand letter constituted a criminal act—is
outrageous.

It is also worth noting that it is clear from the materials the Commission has provided to
defense counsel that Fr. Barbas has made inconsistent statements to the Commission. Does the
Commission really expect this Court to believe that it considers an individual with only
irrelevant information who has provided it with inconsistent statements to be a potential
witness for it at trial in this case? Such a position strains all credulity. And, of course,
Defendants have no reason to call Fr. Barbas as a witness in this case—agreeing wholeheartedly
with the Commission’s prior representations that the false statements he made to the
Commission are irrelevant to rhis litigation and should be sorted out in another forum (i.e., Fr.
Emmanuel’s planned civil suit against Fr. Barbas).

2. The Undersigned Relied in Good Faith on the Commission’s Representations,
and There was Nothing Illegal or Unethical About the Civil Demand to Fr.
Barbas’ Counsel.

Based on the above, the undersigned unequivocally believed that Fr. Barbas was not a
potential witness in this matter and accordingly sent the demand letter in good faith to his
counsel (the General Counsel for the Greek Orthodox Archdiocese of America)—completely
independent of this case and not in any way to “influence a potential witness.” That demand
letter had nothing to do with any potential testimony in this case; indeed, it couldn’t, as the
Commission had already told this Court that Fr. Barbas was irrelevant to this case. Moreover, as
set forth below, the undersigned believed—and continues to believe—that the demand letter
constituted a good-faith attempt to settle a civil dispute prior to litigation and complied with all
applicable laws and Rules.

Although not expressly mentioned in its letter to the Court, in a subsequent telephone
conversation the undersigned had with counsel for the Commission, the Commission took the
position that the civil demand letter to Fr. Barbas’s counsel constituted misconduct, because Fr.
Emmanuel has no viable defamation claim arising from the false statements that Fr. Barbas made
to the Commission as they would fall under the “litigation privilege” (and thus, the
Commission’s argument apparently goes, the demand letter must have been sent for the improper
purpose alleged by the Commission). Counsel for the Commission’s assertion about the
litigation privilege is legally incorrect. First, that privilege only applies to statements made in
the course of judicial proceedings that “pertain to that proceeding.” See Patriot Group, LLC v.
Edmands, 96 Mass. App. Ct. 478, 483-84 (2019) (quoting Correllas v. Viveiros, 410 Mass. 314,
319 (1991)) (emphasis added). As the Commission has expressly represented to this Court, Fr.
Barbas’s statements to it concerning Fr. Emmanuel’s religious affiliation did not—and do

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not—pertain to this proceeding. See generally, ECF No. 64. Accordingly, while Fr.
Emmanuel’s planned suit against Fr. Barbas includes—but notably will not be limited to—false
statements that Fr. Barbas made to the Commission, those statements do not pertain in any way
to this proceeding, and thus the litigation privilege does not apply. Second, Fr. Barbas is not a
“witness” in this judicial proceeding such that his malicious false statements would be covered
by the litigation privilege.*

While it is none of the Commission’s business given its lack of relevance to this case, to
the extent the Commission is alleging that there is anything wrong with the settlement demand
itself, such a claim also has no merit. Defense counsel believes every statement in the proposal
to be true and accurately reflect the facts concerning Fr. Emmanuel’s religious affiliation. Fr.
Barbas has been on a retaliatory campaign of making disparaging statements about Fr.

Emmanuel (after Fr. Emmanuel publicly advocated for Fr. Barbas’s ouster). The proposed
settlement demand was therefore made for the legitimate purpose of having Fr. Barbas agree in
writing to nine (true) facts and confirming the specifics of his false statements to the
Commission, with the intent of avoiding protracted litigation while also stopping Fr. Barbas from
making further false statements about Fr. Emmanuel outside of the context of this case. It was
not intended (nor could it be)—as the Commission recklessly alleges—to impact any testimony
in this case.

Further, the Commission also seems to indicate that the settlement demand of $10,000
somehow constitutes misconduct. It does not. That number reflects a conservative estimate of
the legal fees that Fr. Emmanuel incurred—completely unnecessarily—based on Fr. Barbas’s
willful refusal to comply with the subpoena, his delay tactics, and his frivolous claims of
privilege. Fr. Emmanuel has every right to try to recoup this amount as part of any settlement—
again, separate and apart from anything to do with trial in this case.

3. The Commission’s Letter Failed to Properly Disclose the Commission’s Prior
Representations Critical to This Issue.

Should the Court believe a hearing as requested by the Commission is necessary, the
undersigned respectfully requests that the Court inquire of counsel for the Commission as to how
its claim that Fr. Barbas is a “potential witness” in this case can be reconciled with its prior
position that “it did not—and does not—view Lemelson’s religious affiliation as relevant to this
case” and “this is not the forum to sort [] out” issues involving any dispute between Fr.
Emmanuel and Fr. Barbas concerning the former’s religious affiliation. The undersigned also
respectfully suggests that the Court inquire of Commission counsel about their willful failure to

 

4 Indeed, the Commission itself acknowledges that it only spoke to Fr. Barbas by happenstance, when it reached out
to the Greek Orthodox Metropolis of Boston for the purpose of determining where to direct a document subpoena
aimed at undermining Fr. Emmanuel’s credibility. See ECF No. 64 at 3.

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disclose these prior representations (among the other things set forth above) in their March 6,
2020 letter to this Court. The lawyers who signed the March 6 letter apparently believe they
have the unfettered power to falsely accuse a fellow member of the Bar of committing a criminal
act, while at the same time withholding from the Court critical information demonstrating the
falsity of their accusations. They do not.

Sincerely,
/s/ Douglas S. Brooks

Douglas S. Brooks

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